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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                        )
 MASON CAPITAL L.P.. and MASON          )   ECF Case
 CAPITAL, LTD.                          )   Document Electronically Filed
                                        )
                      Plaintiffs,       )
                                        )
                                        )   Civil Action No. 2:18-C V-UI! 19-MCA-LDW

 PERRIGO CO., PLC, et aL,
                                        )
                      Defendants.       )
                                        )
  PENTWATER EQUITY
  OPPORTUNITIES MASTER FUND,
  LTD., PENT WATER EVENT DRIVEN
  CAYMAN FUND LTD.. PENTWATER
  MERGER ARBITRAGE MASTER FUND
  LTD.. PWCM MASTER FLND LTD..          )   Civil Action No. 2: 18-C V-Ol 121-MCA-LDW
  OCEANA MASTER FUND LTD.. LMA
  SPC FOR AND ON BEHALF OF MAP 98
  SEGREGATED PORTFOLIO, and
  AMUNDI ABSOLUTE RETURN
  PENTWATER FUND PLC (F/K/A AAI
  PENTWATER FUND PLC         -




  PENIWATER EVE\ T EQUITY
  REFLECTION FUND),
                                        )
                       Plaintiffs,      )
                                        )
           v.                           )
                                        )
  PERRIGO CO., PLC, et aT,
                                        )
                       Defendants.      )
                                        )
Case 2:18-cv-01119-MCA-LDW Document 32 Filed 11/14/18 Page 2 of 4 PageID: 828




                           STIPULATION AN1 [PROPOSEDI ORDER

         WHEREAS, the complaints in the above-captioned individual actions (the “Individual

  Actions”) have been designated as related actions to the June 21, 2017 Amended Complaint for

  Violation of the Federal Securities Laws (the “Amended Complaint”) in Roofer’s Pension Fund

  v. Papa, et aL, No. 2:16-cv-2805-MCA-LDW (the “Consolidated Class Action”);

         WHEREAS, plaintiffs and defendants in the Individual Actions stipulated and agreed on

  February 20, 2018 that they would confer and submit a proposed schedule for the filing of

  answers or other responses to the complaints in the Individual Actions no more than thirty (30)

  days after the Court in the Consolidated Class Action issued an opinion on the motions to

  dismiss the Amended Complaint in the Consolidated Class Action (the “Motion to Dismiss”),

  which the Court in each of the Individual Actions so-ordered on February 21, 2018;

         WHEREAS, on July 27, 2018, the Court in the Consolidated Class Action issued an

  opinion granting in part and denying in part the Motions to Dismiss (2018 WL 3601229);

         WHEREAS, on August 24, 2018, the parties jointly sought an extension until September

  14, 2018 of the deadline to submit a proposed schedule for next steps in each of the Individual

  Actions, which the Court in each of the Individual Actions so-ordered on August 27, 2018;

         WHEREAS, after conferring, the parties hereto believe the below schedule is fair and

  reasonable.

         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the parties

  hereto, through their undersigned counsel, subject to the Court’s approval, as follows:

         1.      Defendants Perrigo, Papa, and Brown shall move, answer, or otherwise respond to

  the complaints in the Individual Actions on or before November 21, 2018; and

         2.      In the event that Perrigo, Papa, and/or Brown moves to dismiss any complaint in



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  the Individual Actions:

                 (a)    Plaintiffs in the Individual Actions shall have until January 30, 2019 to

                        serve opposition papers; and

                 (b)    Perrigo, Papa, and Brown shall have until February 28, 2019 to serve reply

                        papers in further support of their motion(s) to dismiss.

  Dated: September 14, 2018

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